                                                                                    Duration: 45 minutes
                                                                                    Proceeding via: DCourtCall DAT&T
DOCKET No. 21mj866                                               DEFENDANT _Je-f~fr_ey~S~a~b~o~l_ _ _ _ _ _ _ _ _ __


AUSA Ben Gianforti                                                       COUNSEL Jason Ser
                                                                 •DEF.'S
                                                                   RETAINED • FEDE~R=AL=D=E~F=EN~D_E_R_s---;•=-c-JA-----=lll~PRE-SE-NTM--EN_T_O_N_LY
• ________ INTERPRETER NEEDED
                                                                               0 DEFENDANT WAIVES PRETRIAL REPORT
D Rule 5 D Rule 9 Ill Rule 5(c)(3) D Detention Hrg.                   DATE OF ARREST J/22/2021                             • VOL. SURR.
                                                                      TIME OF ARREST ~S=:O=O~A~M~---                       • ON WRIT
D Other:                                                              TIME OF PRESENTMENT 2: 1SPM
              ---------------
                                                         BAIL DISPOSITION
                                                                                                      0 SEE SEP. ORDER
0 DETENTION ON CONSENT W/0 PREJUDICE                             Ill DETENTION: RISK OF FLIGHT/DANGER Ill SEE TRANSCRIPT
•0 DETENTION HEARING SCHEDULED FOR:
   AGREED CONDITIONS OF RELEASE     ---------
• DEF.RELEASED ON OWN RECOGNIZANCE
 0 $_ _ _ _ _ PRB • -----'FRP
•0 TRAVEL
   SECURED BY$_ _ _ _ _ CASH/PROPERTY:
          RESTRICTED TO SDNY/EDNY/      ---------------------
• TEMPORARY ADDITIONAL TRAVEL UPON CONSENT OF AUSA & APPROVAL OF PRETRIAL SERVICES
0 SURRENDER TRAVEL DOCUMENTS (& NO NEW APPLICATIONS)
0 PRETRIAL SUPERVISION:             •
                          REGULAR O STRICT OAS DIRECTED BY PRETRIAL SERVICES
0 DRUG TESTING/TREATMT AS DIRECTED BY PTS O MENTAL HEALTH EVAL/TREATMT AS DIRECTED BY PTS
• DEF.TO SUBMIT TO URINALYSIS; IF POSITIVE, ADD CONDITION OF DRUG TESTING/TREATMENT
0 HOME INCARCERATION O HOME DETENTION • CURFEW • ELECTRONIC MONITORING                                                             O GPS
0 DEF. TO PAY ALL OF PART OF COST OF LOCATION MONITORING, AS DETERMINED BY PRETRIAL SERVICES
0 DEF. TO CONTINUE OR SEEK EMPLOYMENT [OR]                        •
                                               DEF.TO CONTINUE OR START EDUCATION PROGRAM
0 DEF. NOT TO POSSESS FIREARM/DESTRUCTIVE DEVICE/OTHER WEAPON
0 DEF. TO BE DETAINED UNTIL ALL CONDITIONS ARE MET
0 DEF. TO BE RELEASED ON OWN SIGNATURE, PLUS THE FOLLOWING CONDITIONS: _ _ _ _ _ _ _ _ __
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __,· REMAINING CONDITIONS TO BE MET BY: _ _ _ __

ADDITIONAL CONDITIONS/ADDITIONAL PROCEEDINGS/COMMENTS:

The defendant consents to proceed remotely and is advised of his rights and the charges against him. Public reading of
the complaint is waived. Jason Ser is appointed to represent the defendant for purposes of today's proceeding only.
Bail/Detention hearing held. Defendant detained.




• DEF.ARRAIGNED; PLEADS NOT GUILTY                                               O CONFERENCE BEFORE D.J. ON _ _ _ _ __
0 DEF. WAIVES INDICTMENT
0 SPEEDY TRIAL TIME EXCLUDED UNDER 18 U.S.C. § 316l(h)(7) UNTIL _ _ _ _ __
For Rule S(c)(3) Cases:
Ill IDENTITY HEARING WAIVED                                  0 DEFENDANT TO BE REMOVED
0 PRELIMINARY HEARING IN SDNY WAIVED                         •    CONTROL DATE FOR REMOVAL: - - - - - -


PRELIMINARYHEARINGDATE: 2/19/2021                                Ill ON DEFENDANT'S CONSENT

DATE: 1/22/2021                                                             ~~
                                                                            UNITED STATES MAGISTRATE JUDGE, S.D.N.Y.
.'fil:!1IE (onginal)- COURT FILE   £INK- U.S ATTORNEY'S OFFICE          YE!.J.illY - U.S MARSHAL           QRE!lli - PRETRIAL SERVICES AGENCY
Rev'd 2016
